                Case 2:09-cr-00500-KJM Document 21 Filed 08/04/10 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   LEXI NEGIN, Bar# 250376
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     DEANDRE LAMAR DOSTY
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )               CR. S-09-500 FCD
                                       )
12                   Plaintiff,        )               STIPULATION AND ORDER TO
                                       )               CONTINUE STATUS HEARING AND TO
13         v.                          )               EXCLUDE TIME PURSUANT TO THE
                                       )               SPEEDY TRIAL ACT
14   DEANDRE LAMAR DOSTY,              )
     RAE LEONARD YOUNG,                )               DATE:       October 18, 2010
15                                     )               TIME:       10:00 a.m.
                     Defendants.       )               JUDGE:      Frank C. Damrell, Jr.
16                                     )
     _________________________________ )
17
18         It is hereby stipulated and agreed to between the United States of America through Jason Hitt,
19   Assistant U.S. Attorney, and defendants, DEANDRE LAMAR DOSTY by and through his counsel, Lexi
20   Negin, Assistant Federal Defender, and RAE LEONARD YOUNG by and through his counsel, William
21   E. Bonham, that the status conference set for August 9, 2010, be continued to Monday, October 18,
22   2010, at 10:00 a.m.
23         The reason for this continuance is to allow defense counsel additional time to review discovery with
24   the defendants, to examine possible defenses, and to continue investigating the facts of the case.
25   ///
26   ///
27   ///
28
                Case 2:09-cr-00500-KJM Document 21 Filed 08/04/10 Page 2 of 2


 1       It is further stipulated that the time period from the date of this stipulation, August 4, 2010, through
 2   and including the date of the new status conference hearing, October 18, 2010, shall be excluded from
 3   computation of time within which the trial of this matter must be commenced under the Speedy Trial Act,
 4   pursuant to 18 U.S.C. §§ 3161 (h)(7)(A)&(B)(iv)and Local Code T4 [reasonable time for defense counsel
 5   to prepare].
 6
 7   DATED: August 4, 2010                      Respectfully submitted,
 8                                              DANIEL J. BRODERICK
                                                Federal Defender
 9
                                                 /s/ Lexi Negin
10                                              LEXI NEGIN
                                                Assistant Federal Defender
11                                              Attorney for Defendant
                                                DEANDRE LAMAR DOSTY
12
13   DATED: August 4, 2010                      /s/ Lexi Negin for
                                                WILLIAM E. BONHAM
14                                              Attorney for Defendant
                                                RAE LEONARD YOUNG
15
16   DATED: August 4, 2010                      BENJAMIN B. WAGNER
                                                United States Attorney
17
                                                 /s/ Lexi Negin for
18                                              JASON HITT
                                                Assistant U.S. Attorney
19                                              Attorney for Plaintiff
20
21                                              ORDER
22       IT IS SO ORDERED. Time is excluded from today’s date through and including October 18, 2010,
23   in the interests of justice pursuant to 18 U.S.C. §3161(h)(7)(B)(iv) [reasonable time to prepare] and Local
24   Code T4.
25   DATED: August 4, 2010
26                                                   _______________________________________
                                                     FRANK C. DAMRELL, JR.
27                                                   UNITED STATES DISTRICT JUDGE
28


                                                           2
